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                                                                                 IN CLEFr·:: . ·t·ICE
  UNITED STATES DISTRICT COURT                                             U.S. DISTRICT COURT E.D:N.Y
  EASTERN DtSTRICT OF NEW YORK
  --------------------------X
  ALBERTO REYES JR.,                                                       *
                                                                  Civil Action No.: 11 CV 5316
                                                                                                        *
                                       Plaintiff,                           LONG ISLAND Gi r·i..:::.E
                  -against-
                                                                 NOTICE OF VOLUNTARY
                                                                 DISMISSAL PURSUANT
                                                                 TO F.R.C.P. 41(A)(1)(a)(i)
  APEX FINANCIAL MANGEMENT,


                                      Defendant(s).
  -----------------------------X
       Pursuant to F.R.C.P. 41(a){1)(A)(i), plaintiff Alberto Reyes Jr., by his counsel, hereby gives
  notice that the above captioned action is voluntarily dismissed against the Defendant Apex
  Financial Mangement.


  Dated: December 1, 2011
         New York, New York



  By:_....:.....__..,_ _ _ _ __
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